Case 2:03-cr-20211-SH|\/| Document 73 Filed 04/21/05 Page 1 of 2 Page|D 103

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IN THE UNITED sTATEs DISTRICT coURT af
FoR THE wEsTERN DISTRICT oF TENNESSEE 135 §§ §_,.;»; j jim
wEsTERN DIvIsIoN
rao-ssa a §§ :::
»CL§R:<. u.s. 535 . :i".

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V".'.D. L)l" \r`~J, Nis..»\hf'al

 

UNITED S'I'ATES OF AMERICA,
Plaintiff,
CR. NO. O3-202]_l-Ma

VS.

JERRY THOMPSON ,

~._,~._/~._/~_’-_/W~_._,--.z~_..¢

Defendant.

 

ORDER ON CONTINUANCE AN'D SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came cmi for` a report date on.jMarch. 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial date to
the rotation docket beginning May 2, 2005 at 9:30 a.m., With a
report date of Thursday, April 21, 2005 at 2:00 p.m.

The period_ fronl March. 24, 2005 through May l3, 2005 is
excludable under 18 U.S.C. § 3lGl(h)(8)(B){iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this *<; day of April, 2005.

J#é/W"L_-_`..

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This document entered on the docket sheet I)n complia:;\;\ /_\}
with nule 55 and/or sz(b) FF\ch on ’»' 'QL/'v§’ ____‘ 75/ /;
\`,/

   

UNITED TATES DISTRIC COURT - WESTERN D"RITICT o TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:03-CR-20211 Was distributed by faX, mail, or direct printing on
April 21 , 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

